Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 1 of 85




                Exhibit A
DocuSign Envelope ID: BA2909A1-44ED-438C-91FC-4FAD2529DAC5
                              Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 2 of 85
 SUMMONS - CIVIL                                                                     For information on                              STATE OF CONNECTICUT
 JD-CV-1 Rev. 2-20                                                                   ADA accommodations,                                    SUPERIOR COURT
 C.G.S. §§ 51-346, 51-347, 51-349, 51-350, 52-45a, 52-48, 52-259;                    contact a court clerk or
 P.B. §§ 3-1 through 3-21, 8-1, 10-13                                                                                                                     www.jud.ct.gov
                                                                                     go to: www.jud.ct.gov/ADA.
 Instructions are on page 2.
        Select if amount, legal interest, or property in demand, not including interest and costs, is LESS than $2,500.
  ✖ Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.

        Select if claiming other relief in addition to, or in place of, money or damages.

 TO: Any proper officer
 By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.
 Address of court clerk (Number, street, town and zip code)                                            Telephone number of clerk                    Return Date (Must be a Tuesday)
  123 Hoyt Street, Stamford 06905                                                                      ( 203 ) 965 – 5308                           July 21, 2020
  ✖ Judicial District                                    At (City/Town)                                                                  Case type code (See list on page 2)
                           G.A.
     Housing Session       Number:                        Stamford/Norwalk Judicial District                                              Major: V                 Minor: 06
 For the plaintiff(s) enter the appearance of:
 Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code)                                  Juris number (if attorney or law firm)
  Debbi Cotterell, 17 Renwick Street, Unit C, Stamford, CT 06902
 Telephone number                            Signature of plaintiff (if self-represented)
 ( 203 ) 943 – 9953
 The attorney or law firm appearing for the plaintiff, or the plaintiff if                                     E-mail address for delivery of papers under Section 10-13 of the
                                                                                                               Connecticut Practice Book (if agreed)
 self-represented, agrees to accept papers (service) electronically
 in this case under Section 10-13 of the Connecticut Practice Book.                    ✖ Yes           No      debbisimms@gmail.com

        Parties            Name (Last, First, Middle Initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, if not USA)
      First           Name:      Cotterell, Debbi
                                                                                                                                                                                       P-01
     plaintiff        Address:   17 Renwick Street, Unit C, Stamford, CT 06902
   Additional         Name:
                                                                                                                                                                                       P-02
    plaintiff         Address:
     First            Name:      General Motors LLC
                                                                                                                                                                                       D-01
   defendant          Address:   300 Renaissance Center, Detriot, Michigan, 48265
   Additional         Name:      ACAR Leasing Ltd, d/b/a GM Financial Leasing
                                                                                                                                                                                       D-02
   defendant          Address:   801 Cherry Steet, Suite 3500, Fort Worth, TX 76102
   Additional         Name:      RICHARD CHEVROLET, INC
                                                                                                                                                                                       D-03
   defendant          Address:   1405 Highland Avenue, Chesire, CT 06410
   Additional         Name:      H & L CHEVROLET, INC.
                                                                                                                                                                                       D-04
   defendant          Address:   1416 Post Road, Darien, CT 06820
 Total number of plaintiffs: 1                             Total number of defendants: 4                                     Form JD-CV-2 attached for additional parties

 Notice to each defendant
 1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.
 2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12) with the clerk at the address above. Generally,
    it must be filed on or before the second day after the Return Date. The Return Date is not a hearing date. You do not have to come to
    court on the Return Date unless you receive a separate notice telling you to appear.
 3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
    form at the court address above, or on-line at https://jud.ct.gov/webforms/.
 4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
    your insurance representative. Other actions you may take are described in the Connecticut Practice Book, which may be found in a
    superior court law library or on-line at https://www.jud.ct.gov/pb.htm.
 5. If you have questions about the summons and complaint, you should talk to an attorney.
    The court staff is not allowed to give advice on legal matters.
 Date                   Signed (Sign and select proper box)                                   Commissioner of Superior Court      Name of person signing

                                                                                              _____________________ Clerk
 If this summons is signed by a Clerk:                                                                                                                    For Court Use Only
                                                                                                                                              File Date
 a. The signing has been done so that the plaintiff(s) will not be denied access to the courts.
 b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
 c. The court staff is not permitted to give any legal advice in connection with any lawsuit.
 d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
      errors or omissions in the summons, any allegations contained in the complaint, or the service of the
      summons or complaint.
                                   Signed (Self-represented plaintiff)                                              Date                      Docket Number
 I certify I have read and
 understand the above:                                                                                                     6/15/2020
                                       Print Form                                       Page 1 of 2                               Reset Form
DocuSign Envelope ID: BA2909A1-44ED-438C-91FC-4FAD2529DAC5
                        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 3 of 85
 Instructions
 1. Type or print legibly. If you are a self-represented party, this summons must be signed by a clerk of the court.
 2. If there is more than one defendant, make a copy of the summons for each additional defendant. Each defendant must receive a copy of
    this summons. Each copy of the summons must show who signed the summons and when it was signed. If there are more than two
    plaintiffs or more than four defendants, complete the Civil Summons Continuation of Parties (form JD-CV-2) and attach it to the original
    and all copies of the summons.
 3. Attach the summons to the complaint, and attach a copy of the summons to each copy of the complaint. Include a copy of the Civil
    Summons Continuation of Parties form, if applicable.
 4. After service has been made by a proper officer, file the original papers and the officer's return of service with the clerk of the court.
 5. Use this summons for the case type codes shown below.
    Do not use this summons for the following actions:
    (a) Family matters (for example divorce, child support,                (e)   Administrative appeals
        custody, paternity, and visitation matters)                        (f)   Proceedings pertaining to arbitration
    (b) Any actions or proceedings in which an attachment,                 (g)   Summary Process (Eviction) actions
        garnishment or replevy is sought                                   (h)   Entry and Detainer proceedings
    (c) Applications for change of name                                    (i)   Housing Code Enforcement actions
    (d) Probate appeals


 Case Type Codes




                               Print Form                            Page 2 of 2                         Reset Form
         Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 4 of 85




RETURN DATE: July 21, 2020
______________________________________
DEBBI COTTERELL                       )                      SUPERIOR COURT
                                      )
      Plaintiff,                      )
                                      )                      J.D. OF FAIRFIELD
                                      )
V.                                    )                      AT STAMFORD
                                      )
GENERAL MOTORS LLC,                   )                      June 15, 2020
ACAR LEASING LTD d/b/a                )
GENERAL MOTORS FINANCIAL LEASING, )
RICHARD CHEVROLET, INC., and          )
H & L CHEVROLET, INC.                 )
                                      )
      Defendants.                     )
______________________________________)


                                           COMPLAINT


    1. Debbi Cotterell is a citizen of the state of Connecticut who presently resides in Stamford,

CT 06902.

    2. Defendant General Motors LLC (hereinafter “General Motors”) is a Delaware limited

liability company with its principal place of business located at 300 Renaissance Center, Detroit,

Michigan. General Motors is registered to do business in the State of Connecticut.

    3. Defendant ACAR Leasing Ltd, d/b/a GM Financial Leasing (hereinafter “ACAR Leasing”)

is a Texas Corporation with its principal place of business located at 801 Cherry Street, Suite

3500, Fort Worth, TX 76102 conducting business in Connecticut.

    4. Defendant Richard Chevrolet, Inc. (hereinafter “Richard Chevrolet”) is a Connecticut

corporation with a principal place of business at 1405 Highland Avenue, Cheshire, CT 06410.

    5. Defendant H & L Chevrolet, Inc. (hereinafter “H &L Chevrolet”) is a Connecticut

corporation with a principal place of business at 1416 Post Road, Darien, CT 06820.



                                                 1
         Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 5 of 85



    6. The defective vehicle which forms the basis for this action is a 2015 Chevrolet Impala

sedan (hereinafter “2015 Impala”) vehicle identification number 2G1125S30F9251501, that was

either designed, manufactured, sold, marketed, financed, repaired by Defendants under the

brand name Chevrolet.

    7. Plaintiff filed an amended complaint in Federal Court on July 19, 2019 which her state

law claims were dismissed without prejudice on December 18, 2019. Plaintiff now brings her

claims in state court. [Exhibit A]

    9.   On or about August 10, 2015 Debbi Cotterell and Timothy Smith leased the 2015

Impala and traded in their 2005 Chrysler Pacifica to Richard Chevrolet. Richard Chevrolet

accessed Plaintiff’s credit report and deem her credit worthy to lease the 2015 Impala.

   10. Prior to leasing the vehicle Plaintiff reviewed advertisement, dealership brochures and

spoke to sales representatives. The 2015 Impala was marketed and sold to Defendant as safe

and reliable vehicle by Richard Chevrolet. The Plaintiff reviewed and signed leasing agreement

with finance manager and believed the 2015 Impala was free of any defects.

   11. All service appointments from August 2015 through September 2016 were conducted at

Richard Chevrolet.

   12. On September 11, 2016, the Steering Failure indicator message popped up on the

dashboard. Plaintiff immediately called her husband because she was terrified. Her husband

instructed her to bring the vehicle to the nearest Autozone since this was a Sunday and he

didn’t believe the dealer was open. He believed there must have been a leak or something

causing the issue.

    13. At this time, the steering began to gradually lock up and became difficult. The Autozone

service member told Plaintiff to bring the car to a dealership because the steering was electric.

At no time did the Autozone service member mention any suspension issue when he looked the

vehicle over.



                                                2
         Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 6 of 85



  14. Plaintiff brought the car to H & L Chevrolet in Darien, Connecticut, and left the vehicle in

front of the Service Area with a completed service card that said approximately “So scary and

dangerous, steering started to fail, and the vehicle became difficult to drive”.

  15. The next morning, September 12, 2016 before 8:00 a.m., the H &L Chevrolet service

member called the Plaintiff and asked, “how did you get the 2015 Impala here because I was

barely able to get it into the service area”. Plaintiff told him that it was difficult, and the entire

experience was scary. The plan was to diagnosis the vehicle and get back to Plaintiff.

  16. Within an hour, the service member called the Plaintiff and said, “you have two nails in

your front tires, which caused the Plaintiff’s suspension to fail and then the power steering to

fail”. The Plaintiff, who has owned multiple vehicles, said “that did not sound right but you’re a

professional”. The Plaintiff also told the service member that the suspension had not failed in

the vehicle since it was not low to the ground. He said he needed permission to fix the tires (not

under warranty) and he would repair the suspension and steering issue (under warranty).

Permission was given to make the repairs. Plaintiff picked up the 2015 Impala around noon on

September 12, 2016. The Plaintiff was only told to keep an eye on the tire pressure, and

everything would be ok. [Exhibit B] The service member did not mention anything about

known steering failures in the 2015 Chevy Impala or any General Motors vehicles.

   17. On September 14, 2016, Plaintiff was driving the recently repaired 2015 Impala and

Power Steering Failure message appeared again. It took the Plaintiff 10 minutes to move and

maneuver herself to back the vehicle out of the middle of the street. While trying to back up the

car, Plaintiff’s arm was twisted by the steering wheel. September 15, 2016 the Plaintiff brought

the vehicle back to H & L Chevrolet and asked them if they were trying to kill her. They

immediately rushed the Plaintiff in a private area and asked what was wrong. The Plaintiff

explained to the Service Manager that she was there on September 12, 2016 for the same issue

and was only told that the nails in the tire caused her steering to fail. The Plaintiff was given a

loaner vehicle and a service member assisted her to the loaner vehicle with her belongings

                                                    3
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 7 of 85



since she was feeling pain in her shoulder. The service member told the Plaintiff that she was

lucky that she was not driving a bigger SUV or TRUCK because the steering fails on those

vehicles also. The Plaintiff was shocked at this comment.

   18. On September 15, 2016, the Plaintiff contacted General Motors Corporate office

regarding the issue she was having with 2015 Impala and the pain she had in her shoulder.

General Motors instructed H & L Chevrolet to replace the Power Steering Rack and the Plaintiff

picked up the 2015 Impala on September 21, 2016. [Exhibit C]

  19.   On September 15, 2016, Plaintiff woke up with pain in her right shoulder. Plaintiff is

right-handed and used her right hand to drive. On September 16, 2016, Plaintiff went to go to

Orthopedic Associates of Stamford since the pain has decreased. Plaintiff explained to Dr.

Joseph M. D’Amico, MD. the issue and he ordered an in-office x-ray. Initial x-rays were within

normal limits for her age. He started Plaintiff on conservative treatment program including a

cortisone injection under ultrasound guidance. She initially showed mild improvement following

the cortisone injection and was seen one week for follow-up. The pain had not gone away upon

the Plaintiff’s next office visit. He added a two-week course of Relafen 500 mgs twice a day and

an MRI was ordered. The results from the MRI showed a partial rotator cuff tear as well as

Impingement syndrome and Plaintiff continued on a physical therapy program and conservative

management. Physical therapy continued for about two and half months with no improvement

and Plaintiff was referred to Dr. Marc Silver for evaluation for an arthroscopic subacromial

decompression. Dr. Marc Silver performed arthroscopic subacromial decompression with repair

of her partial cuff tear on December 27, 2016.

  20. Plaintiff continued with physical therapy for months but the pain did not subside. Plaintiff

developed a substance abuse problem and started to self-medicate herself with street drugs.

Plaintiff was not able to properly care for herself, her family and suffered loss of consortium with

spouse. Plaintiff continues to suffer emotionally, mentally, physically and financially daily.



                                                  4
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 8 of 85



 21. Plaintiff was in contact with General Motors since there was a claim opened because of

the injury. Plaintiff explained to General Motors that she no longer wanted a vehicle that caused

her this devastating injury. Plaintiff was told to contact ACAR Leasing. Plaintiff suffered

emotionally, mentally, physically and financially and General Motors offered to settle this matter

for nominal amount which the Plaintiff rejected and told them she intended to sue.

 22. Plaintiff contacted ACAR Leasing customer service and explained to them that she no

longer wanted a vehicle which inflicted emotional and financial pain on her. Plaintiff asked

ACAR Leasing to release her out of the Lease Agreement with a new vehicle until her lease

term was up. ACAR Leasing continuously refused and never investigated my claim.

 23. Plaintiff continued to make monthly payments on the 2015 Impala because she did not

want her, and her husband’s credit ruined causing her even more financial and emotional pain

and distress. She called ACAR Leasing monthly reminding them that she no longer enjoys

quiet enjoyment with the 2015 Impala and wanted to be put in another vehicle until the end of

her lease. Plaintiff’s husband drove the vehicle most of the time. Plaintiff was told she can drop

the vehicle off at the dealer. Plaintiff asked what she and her husband was supposed to drive,

they did not care. Plaintiff filed a complaint with ACAR Leasing through their website under

Contact Us – Complaints and to this date have not received a response.

 24. Plaintiff continued to pay for 2015 Impala until September 2017 believing this would get

someone’s attention. Plaintiff explained to ACAR Leasing that she just could no longer look at a

vehicle that caused her such a devastating injury, mental anguish and financial harm. Plaintiff

explained to ACAR Leasing that it was like looking at the car was causing her mental and

emotional abuse and that she had been complaining for months with no one investigating her

claim. ACAR Leasing started to make harassing phone calls to Plaintiff on cell phone and work

phone. Plaintiff told ACAR Leasing that she was not allowed to receive debt collection calls at

her place of employment, but the calls continued to her work phone and the main operators

phone which calls were transferred to Plaintiff’s work desk phone. ACAR Leasing continues to

                                                 5
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 9 of 85



send correspondences and/or statements to Plaintiff requesting settlement and or payment of

debt even though Plaintiff has asked ACAR Leasing to stop contacting her regarding this debt

and she does not owe the debt since she was leased a defective vehicle that cause her injury.

 25. On December 18, 2017, the 2015 Impala was repossessed causing even more financial

harm and embarrassment to Plaintiff. On December 19, 2017, Plaintiff immediately sent an

email to Defendants General Motors and ACAR Leasing letting them know her intentions to sue

and to retain all materials in connection with this matter. Defendant General Motors was aware

of and acknowledged a previous complaint the Plaintiff filed against General Motors with the

Michigan Consumer Protective Division. Defendant General Motors legal counsel, Katherine H.

Moor sent a letter dated December 27, 2017 to the Michigan Consumer Division regarding

Plaintiff’s complaint and stated upon receipt she sent a communication to ACAR Leasing

addressing Plaintiff’s claims relating to vehicle payments and access to the 2015 Impala.

General Motors and ACAR Leasing knew or should have known to preserve relevant evidence

related to this matter since it was reasonably foreseeable that a lawsuit would be filed and the

pending complaint with General Motors and the Michigan Consumer Protective Division should

have trigged preservation.

   26. Repossession of Plaintiff’s 2015 Impala and failure to preserve relevant evidence has

caused Plaintiff not to obtain/maintain legal representation since she is in no longer possession

of the vehicle. Plaintiff has asked Defendant ACAR Leasing for location of vehicle and have not

received a response.

  27. Plaintiff has asked ACAR Leasing to stop reporting the vehicle as a repossession and

late payments to the credit bureaus and update the account as in dispute. ACAR Leasing

continue to report inaccurate information to the credit bureaus.

  28. Pursuant to lease agreement dated August 10, 2015, Plaintiff initiated an Arbitration

claim with all Defendants. Plaintiff could not pursue arbitration because Defendants ACAR

Leasing and Richards Chevrolet could not bring other defendants to the table.

                                                6
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 10 of 85



                                FIRST CAUSE OF ACTION
                    PRODUCT LIABILITY AGAINST GENERAL MOTORS LLC


  29. Plaintiff incorporates by reference each and every paragraph of this Complaint as if fully

set forth herein.

  30. The Defendant General Motors is in the business of designing, assembling,

manufacturing, distributing, repairing, selling and/or supplying motor vehicles, such as the 2015

Impala operated by Plaintiff Debbi Cotterell. An automobile’s ability to respond to driver is one

of the most critical components of vehicle control, stability and safety. The steering wheel is the

driver’s sole source of maneuvering and directing the vehicle based on the driver input.

 31. The 2015 Impala was expected to and did reach end users, including the Plaintiff, without

substantial change in the condition in which it was designed, assembled, manufactured,

distributed, sold and/or supplied by the General Motors LLC.

  32. The 2015 Impala was distributed, sold and/or supplied by the General Motors in a

defective condition for the reasons set for below.

  33. The 2015 Impala was defective and unreasonably dangerous when it entered the stream

of commerce and used by the Plaintiff because it was dangerous to an extent beyond that which

would be contemplated by the ordinary consumer. At no time did the Plaintiff have a reason to

believe that the Product was in a condition not suitable for its proper and intended use.

  34. The Plaintiff was not able to discover, nor could she have discovered through the exercise

of reasonable care, the defective nature of the 2015 Impala. Further, the Plaintiff reasonably

could not have known that the General Motors had designed, developed, manufactured, and

sold the 2015 Impala in such a way as to increase risk of harm or injury to the Plaintiff’s use of

the 2015 Impala.

  35. General Motors, their agents, servants and/or employees are liable and legally

responsible to the Plaintiff for her injuries and damages pursuant to Connecticut General

Statues § 52-572 et seq. and part of this action is brought as a “product liability claim” for injuries

                                                  7
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 11 of 85



proximately caused by the acts and/or omissions of General Motors, their agents, apparent

agents, workmen, contractors, employees and/or officers, acting within the course and scope of

their employment.

  36. The injuries and damages to the Plaintiff, as aforesaid, were directly and proximately

caused by the defective product of General Motors by and through their agents, servants,

workmen, contractors and/or employees acting within the course and scope of their

employment, in one or more of the following ways, by:

               a. Designing, assembling, manufacturing, selling, supplying, and distributing a

               vehicle in a defective condition;

               b. Designing, assembling, manufacturing, selling, supplying, and distributing a

               product that was unreasonably dangerous to user;

               c. Designing, assembling, manufacturing, selling, supplying, and distributing a

               product which was not reasonably fit, suitable, or safe for its intended and

               represented purpose;

               d. Designing, assembling, manufacturing, selling, supplying, and distributing a

               product without steering defect;

               e. Failed to adequately and properly test said product after its design and/or

               assembly under reasonably foreseeable circumstance;

               f. Failed to recall the vehicle upon know defect; and

               g. Failed to warn Plaintiff of defect feature when they knew or should have

               known that it was reasonable to do so.

  37. At all relevant times, the 2015 Impala was used and employed for the purpose for which

it was designed and manufactured and was used in a foreseeable manner.

  38. As a direct and proximate result of General Motors’ conduct, Plaintiff was caused to

sustain severe and permanent injuries including, but not limited to, partial rotator cuff tear,

scaring to her right shoulder, emotional, mental, and financial injuries.

                                                   8
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 12 of 85



  39. In all likelihood, the Plaintiff’s injuries are permanent in nature and will require additional

medical care in the future. In addition, Plaintiff has suffered and will in the future continue to

suffer great physical, mental and financial pain and has been and will in the future be unable to

participate in many of the activities in which she engaged prior to said incidents.

  40. As a further direct and proximate result of the General Motors’ conduct, the Plaintiff was

and is required to spend various sums of money for medical care, treatment, drugs and devices

necessitate by said injuries and will be obligated to spend further additional sums in the future

for like services, all to her loss and damage.

  41. As a further direct and proximate result of General Motors’ conduct, the Plaintiff has been

unable to enjoy many of the social and recreational activities to the extent she formerly was

able. Plaintiff has not been able to properly care for herself, her family and suffered loss of

consortium with spouse.

  42. At all times mentioned herein, the Plaintiff was gainfully employed and as a further result

of said incident the injuries resulting therefrom, the Plaintiff lost time from her employment and

thereby suffered economic loss in the form of past and future lost wages.

                         SECOND CAUSE OF ACTION
      FRAUD AGAINST GENERAL MOTORS LLC, RICHARD CHEVROLET, INC., AND
                           H & L CHEVROLET, INC.

  43. The Plaintiff incorporates by reference each and every paragraph of this Complaint as if

fully set forth therein.

  44. The Defendants General Motors, Richard Chevrolet, Inc. and H & L Chevrolet, Inc. were

under a duty and failed to discharge its duty to exercise reasonable care to disclose to the

Plaintiff and other consumers the defective nature and risks that the 2015 Impala can cause

severe and permanent injuries, of which they had special knowledge not available to the Plaintiff

or other consumers, and as to which they made affirmative representations in violation of all

applicable laws, and concealed material facts relating to the defective nature and risks of the



                                                  9
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 13 of 85



2015 Impala, which were peculiarly within their knowledge, knowing that the Plaintiff and other

consumers would rely on the presumption that no such facts exist.

  45. The Defendants General Motors, Richard Chevrolet, and H & L Chevrolet knew that the

2015 Impala Steering defect can cause severe and permanent injuries. The Defendants

General Motors, Richard Chevrolet, and H & L Chevrolet had actual knowledge at the time of

sale and repair of the 2015 Impala to Plaintiff that it created a risk of serious bodily injury to

users or others as stated in the National Highway Traffic Safety Administration (“NHTSA”) recall

notice of the 2014 Chevrolet Impala. [Exhibit D]

  46. The Plaintiff believes and based thereon alleges that the Defendants General Motors,

Richard Chevrolet, and H & L Chevrolet acquired their knowledge of the Steering Defect in 2015

Impala, prior year models and other vehicles prior to 2008 through sources not available to

Plaintiff, including not limited to pre-release testing data and early consumer complaints to

Defendants General Motors, Richard Chevrolet, and H & L Chevrolet about the Steering Defects

in vehicles. Other reliable source includes, without limitation, Steering recall on the 2014

Chevrolet Impala, dealer repair orders, complaints reported to NHTSA, online news articles,

online forums and to General Motors. [Exhibit E]

General Motors and Richard Chevrolet systematically continue to deceive the public about the

safety and reliability of the vehicles they market for sale.

  47. The Plaintiff believes Defendants General Motors, Richard Chevrolet, and H & L

Chevrolet have been aware of Steering Defect prior to 2015 Impala being sold, financed and/or

brought to dealer for repair.

  48. At all times during dealings between the Defendants and the Plaintiff, the Defendants

General Motors, Richard Chevrolet, and H & L Chevrolet knowingly and recklessly omitted and

concealed information peculiarly within their knowledge to the Plaintiff and to the general public

knowing that the general public and the Plaintiff would rely on the presumption that the dangers

did not exist.

                                                  10
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 14 of 85



  49. The Defendants General Motors, Richard Chevrolet, and H & L Chevrolet actively

concealed from the Plaintiff and the general public:

               a. the failure rate of the 2015 Impala;

               b. the possibility of failure of the 2015 Impala;

               c. that the 2015 Impala was defective for its intended use; and

               d. the possible injuries that are caused by failure of the 2015 Impala.

  50. The Defendants General Motors, Richard Chevrolet, and H & L Chevrolet

misrepresented that the product was safe and effective for its intended uses by affirmative

misrepresentation and/or active concealment and omission of material facts regarding the safety

of the of the 2015 Impala and by their course of conscious and/or intentional conduct succeeded

in repairing, selling and marketing dangerous, defective, and ineffective products to be used by

the Plaintiff. The General Motors, Richard Chevrolet, and H & L Chevrolet intentionally omitted,

concealed and/or suppressed this information from consumers, including the Plaintiff, in order to

avoid losses in sales to consumers and market share to its major competitors.

  51. The Defendants General Motors, Richard Chevrolet, and H & L Chevrolet engaged in

fraud by deliberately and affirmatively concealing and failing to disclose the defects of the 2015

Impala to the Plaintiff and the general public, and by concealing scientific data that showed

increased risk of injury to the Plaintiff and the general public.

  52. The Defendants General Motors, Richard Chevrolet, and H & L Chevrolet knew or should

have known that their representations and omission regarding the safety of the 2015 Impala

were, in fact, false and/or misleading and actively made such representations and omissions

with the intent, design, and purpose that the Plaintiff and others rely on these representations

leading to the use of the 2015 Impala.

  53. At all times herein, the Plaintiff was unaware of the dangers of the 2015 Impala and was

reasonably misled by General Motors, Richard Chevrolet, and H & L Chevrolet omission of

information about this danger.

                                                  11
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 15 of 85



  54. The Plaintiff justifiably relied upon to her detriment and/or was induced by General

Motors, Richard Chevrolet and H & L Chevrolet active concealment regarding the safety of the

2015 Impala, in part, because at no time did the Plaintiff have the knowledge or expertise

necessary to independently evaluate the safety of the 2015 Impala.

  55. General Motors and Richard Chevrolet misrepresentation, concealment, suppression,

and omission were made willfully, wantonly, uniformly, deliberately, and/or recklessly in order to

induce the Plaintiff and others to purchase the 2015 Impala, the Plaintiff did reasonably and

justifiably rely upon the material misrepresentations and omissions made by the General

Motors, Richard Chevrolet, and H & L Chevrolet about the 2015 Impala when agreeing to

purchase and/or continue to use the 2015 Impala.

  56. As a direct and proximate result of the General Motors, Richard Chevrolet, and H & L

Chevrolet false representations and/or active concealment of material facts regarding the safety

and efficacy of the 2015 Impala, Plaintiff was caused to sustain severe and permanent injuries

including, but not limited to partial rotator cuff tear, scaring to her right shoulder, emotional,

mental, and financial injuries.

  57. In all likelihood, the Plaintiff’s injuries are permanent in nature and will require additional

medical care in the future. In addition, Plaintiff has suffered and will in the future continue to

suffer great physical, mental and financial pain and has been and will in the future be unable to

participate in many of the activities in which she engaged prior to said incidents.

  58. As a further direct and proximate result of the General Motors, Richard Chevrolet, and H

& L Chevrolet conduct, the Plaintiff was and is required to spend various sums of money for

medical care, treatment, drugs and devices necessitate by said injuries and will be obligated to

spend further additional sums in the future for like services, all to her loss and damage.

  59. As a further direct and proximate result of the General Motors, Richard Chevrolet, and H

& L Chevrolet conduct, the Plaintiff has been unable to enjoy many of the social and



                                                  12
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 16 of 85



recreational activities to the extent she formerly was able. Plaintiff has not been able to properly

care for herself, her family and suffered loss of consortium with spouse.

  60. At all times mentioned herein, the Plaintiff was gainfully employed and as a further result

of said incident the injuries resulting therefrom, the Plaintiff lost time from her employment and

thereby suffered economic loss in the form of past and future lost wages.

                                THIRD CAUSE OF ACTION
                   VIOLATION OF CUPTA, C.G.S § 42-110b, et seq. AGAINST
                  GENERAL MOTORS LLC, RICHARD CHEVROLET, INC. AND
                                 H & L CHEVROLET, INC.


  61. The Plaintiff incorporates by reference each and every paragraph of this complaint as if

full set forth herein.

  62. General Motors, Richard Chevrolet, and H & L Chevrolet conduct, as aforesaid,

constituted and continues to constitute an unfair method of trade or deceptive act or practice in

the conduct of trade or commerce, in violation of the Connecticut Unfair Trade Practices Act,

Connecticut General Statutes § 42-110b, et seq.

  63. As a direct and proximate result of the General Motors, Richard Chevrolet, and H & L

Chevrolet false representations and/or active concealment of material facts regarding the safety

and efficacy of the 2015 Impala, Plaintiff was caused to sustain severe and permanent injuries

including, but not limited to partial rotator cuff tear, scaring to her right shoulder, emotional,

mental, and financial injuries.

  64. In all likelihood, the Plaintiff’s injuries are permanent in nature and will require additional

medical care in the future. In addition, Plaintiff has suffered and will in the future continue to

suffer great physical, mental and financial pain and has been and will in the future be unable to

participate in many of the activities in which she engaged prior to said incidents.

  65. As a further direct and proximate result of the General Motors, Richard Chevrolet, and H

& L Chevrolet conduct, the Plaintiff was and is required to spend various sums of money for



                                                  13
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 17 of 85



medical care, treatment, drugs and devices necessitate by said injuries and will be obligated to

spend further additional sums in the future for like services, all to her loss and damage.

  66. As a further direct and proximate result of the General Motors, Richard Chevrolet, and H

& L Chevrolet conduct, the Plaintiff has been unable to enjoy many of the social and

recreational activities to the extent she formerly was able. Plaintiff has not been able to properly

care for herself, her family and suffered loss of consortium with spouse.

  67. At all times mentioned herein, the Plaintiff was gainfully employed and as a further result

of said incident the injuries resulting therefrom, the Plaintiff lost time from her employment and

thereby suffered economic loss in the form of past and future lost wages.



                            FOURTH CAUSE OF ACTION
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY AGAINST
                 GENERAL MOTORS LLC, RICHARD CHEVROLET, INC.,
                               and ACAR LEASING


68. The Plaintiff incorporates by reference each and every paragraph of this complaint as if full

set forth herein.

 69. A warranty that the 2015 Impala was in merchantable condition at the time of sale was

implied by the Contract by operation of Conn. Gen. Stat. § 42a-2-314.

 70. Defendants General Motors, ACAR Leasing, and Richard Chevrolet impliedly warranted to

Plaintiff that the 2015 Impala and its steering system which it sold passed without objection in

the trade, was fit and merchantable for its ordinary used, and was not otherwise injurious to

consumers.

 71. Because of the undisclosed defective nature of the 2015 Impala during ordinary use, the

steering system could not pass without objection in the trade, and was unsafe, unmerchantable

and unfit for the ordinary use when sold. General Motors, ACAR Leasing, and Richard

Chevrolet intentional concealed the defective nature of the steering system from Plaintiff.



                                                 14
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 18 of 85



Furthermore, the defective nature of the steering system could not be discovered by exercise of

due diligence and responsible care.

 72. As a direct and proximate result of General Motors, ACAR Leasing, and Richard

Chevrolet, breach of implied warranty, Plaintiff has suffered physical, actual damages and loss

of use of said vehicle and demand judgement for damages.



                         FIFTH CAUSE OF ACTION
NEGLIGENT REPAIR AND FAILURE TO WARN H & L CHEVROLET, INC., AND GENERAL
                                MOTORS


 73. The Plaintiff incorporates by reference each and every paragraph of this complaint as if full

set forth herein.

 74. Both prior to and subsequent to the sale of the 2015 Impala, General Motors and Richard

Chevrolet designed and/or marketed the vehicle by heavily promoting its supposed safety

advantages, yet never provided consumers with warnings about the unreasonably dangerous

defect in the 2015 Impala that caused the vehicle to suddenly lose steering during normal

driving conditions.

 75. Upon the steering system failure on September 11, 2016, Plaintiff brought the 2015 Impala

to H & L Chevrolet for repair. Plaintiff tendered the 2015 Impala to H & L Chevrolet for repairs of

the defective conditions covered under the expressed and implied warranties.

 76. Plaintiff was informed and believed, and thereupon alleges, that H &L Chevrolet attempted

the repair of the 2015 Impala pursuant to their obligations under the warranty. H & L Chevrolet

owed a duty of care to Plaintiff to perform the repairs on the 2015 Impala in a good and

workmanlike manner. Further, H & L Chevrolet has a high duty to detect and correct defects

when consumers such as Plaintiff is subject to the warranty repair system initiated by General

Motors. H & L Chevrolet and General Motors breached the duty to Plaintiff to correct the known

steering issue and/or warn Plaintiff regarding the steering issue.


                                                15
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 19 of 85



 77. H & L Chevrolet attempted repair of Plaintiff’s 2015 Impala was done so negligently,

carelessly, and recklessly as to substantially impair the vehicle’s use, value and safety in its

operation and use. Upon pick up of 2015 Impala on September 12, 2016, H & L represented to

Plaintiff that the vehicle was safe to drive and that the repairs were completed, and the Plaintiff

replied upon the statements by H & L Chevrolet that the steering had failed because there were

two nails in the tires which caused the suspension to fail which caused the power steering to

fail. H & L Chevrolet failed to warn Plaintiff of the defective nature of vehicle and/or probably

defective nature of vehicle.

 78. General Motors and H & L Chevrolet knew of the defective steering system in the 2015

Impala and other vehicles by consumer complaints, dealer repair orders, complaints reported to

NHTSA, online news articles, online forums.

 79. Such negligent failure to adequately warn directly and proximately caused Plaintiff’s

permanent injuries

 80. As a direct and proximate result of H & L Chevrolet and General Motors negligent failure

to repair the 2015 Impala adequately or warn the Plaintiff of defective nature or probably

defective nature Plaintiff has suffered as direct and proximate result of Defendants’ negligence

exceeding $100,000.

                         SIXTH CAUSE OF ACTION
  BREACH OF CONTRACT; MISREPRESENTATION OF CONTRACT; FRAUDULENT AND
                          DECEPTIVE CONTRACT


 81. The Plaintiff incorporates by reference each and every paragraph of this complaint as if full

set forth herein.


 82. On August 10, 2015, Plaintiff entered into a Closed End Motor Vehicle Lease (with

ARBITRATION PROVISION) by and between Richard Chevrolet and ACAR Leasing. The

agreement’s arbitration provision states either YOU OR WE MAY CHOOSE TO HAVE ANY

DISPUTE BETWEEN US DECIDED BY ARBITRATION AND NOT IN COURT OR BY JURY

                                                 16
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 20 of 85



TRIAL. The arbitration provision also states; Any claim or dispute, whether in contract, tort,

statute or otherwise (including the interpretation and scope of Arbitration Provision, and

the arbitrability of the claim or dispute), between you and us or our employees, agents,

successors or assigns, which arises out of or relates to your credit application, lease or

conditions of this Vehicle, thus lease or any resulting transaction or relationship

(including any such relationship with third parties who did not sign this Lease) shall, at

your election, be resolved by neutral, binding arbitration and not by a court action.

   83. On or about February 20, 2019, Plaintiff paid and initiated a formal arbitration matter with

the American Arbitration Association (“AAA”). On March 15, 2019, Richard Chevrolet, ACAR

Leasing and Plaintiff agreed to mutually dismiss the arbitration matter since Richard Chevrolet

and ACAR Leasing could not get General Motors and H&L Chevrolet to arbitration the matter

[Exhibit F].

  84. Upon Plaintiff’s review and signing of the lease agreement with the finance manager at

Richard Chevrolet, plaintiff believed that she had right to file an arbitration claim for Any Claim,

but also any claim or dispute which arose out of or related to the credit application, lease or

conditions of the Vehicle, thus lease or any resulting transaction or relationship. The lease

agreement clearly states that Plaintiff may file an arbitration dispute since the dispute involves

condition of vehicle. A reasonable person would interrupt General Motors and H & L Chevrolet

as a party to an arbitration claim since Plaintiff had a resulting transaction or relationship. Also,

both H & L Chevrolet and General Motors would be considered a third party who did not sign

this lease because General Motors is the maker of the vehicle and H & L Chevrolet is a General

Motors Dealer who repairs vehicle under the warranty program.

   85. The Closed End Motor Vehicle Lease (with ARBITRATION PROVISION) the Plaintiff

entered into is a fraudulent and misleading contract. Under Arbitration on the AAA website,

“Arbitration—the out-of-court resolution of a dispute between parties to a contract, decided by

an impartial third party (the arbitrator)—is faster and more cost effective than litigation.” Plaintiff

                                                  17
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 21 of 85



filed her dispute with the AAA with the understanding that her claim would be resolved by an

arbitrator according to the terms in the Arbitration Provision in the contract.

   86. The language; [Any claim or dispute, whether in contract, tort, statute or otherwise

(including the interpretation and scope of Arbitration Provision, and the arbitrability of the claim

or dispute), between you and us or our employees, agents, successors or assigns, which arises

out of or relates to your credit application, lease or conditions of this Vehicle, thus lease or any

resulting transaction or relationship (including any such relationship with third parties who did

not sign this Lease) shall, at your election, be resolved by neutral, binding arbitration and not by a

court action] in the Closed End Motor Vehicle Lease (with ARBITRATION PROVISION) is

deceptive and misleading to consumers. A reasonable consumer would consider a

manufacturer, distributor, repairer of a vehicle as a “third parties who did not sign this Lease” a

subject to an Arbitration demand if named since the arbitration agreement states, “conditions of

the Vehicle.” and “any disputes”. To be clear, the third parties are to the General Motors and

manufacturer and distributor of the 2015 Impala and H&L Chevrolet a General Motors

dealership who repaired.

   87. Defendants, Richard Chevrolet and ACAR Leasing admitted they could not bring

Defendants, General Motors and H&L Chevrolet to arbitration even though the agreement

states Plaintiff may choose to have any dispute decided by Arbitration.

   88. Defendants Richard Chevrolet and ACAR Leasing breached the contract by not getting

third parties to arbitrate this matter. Richard Chevrolet and ACAR Leasing misrepresentation of

contract; fraudulent and deceptive language in the contract has caused Plaintiff to stain

significant mental and financial damages. Plaintiff is requesting to the court void and nullify

contract and return monies paid to ACAR Leasing and Richard Chevrolet, value of trade-in-

vehicle and removal/and or updating of misleading, deceptive and fraudulent language in

contract.




                                                  18
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 22 of 85



                                  SEVENTH CAUSE OF ACTION
                         FRAUD AND NEGLIGENCE AGAINST ACAR LEASING

  89. The Plaintiff incorporates by reference each and every paragraph of this complaint as if

full set forth herein.

  90. On December 18, 2017, the 2015 Impala was repossessed causing even more financial

harm and embarrassment to Plaintiff. On December 19, 2017, Plaintiff immediately sent an

email to Defendants General Motors and ACAR Leasing with her intention to sue and to retain

all materials in connection with this matter. Defendant General Motors legal counsel, Katherine

H. Moor sent a letter dated December 27, 2017 to the Michigan Consumer Division regarding

Plaintiff’s complaint and stated upon receipt she sent a communication to ACAR Leasing

addressing Plaintiff’s claims relating to vehicle payments and access to the 2015 Impala. ACAR

Leasing knew or should have known to preserve relevant evidence related to this matter since it

was reasonably foreseeable that a lawsuit would be filed and the pending complaint.

91. ACAR Leasing preservation was triggered because they knew litigation was “reasonably

anticipated” by the numerous complaints the Plaintiff contacted the company about, the email

sent by Plaintiff the day after repossession and the communication from General Motors’

attorney. ACAR Leasing failure to preserve evidence which is a material fact in an anticipated

lawsuit has caused Plaintiff irreparable harm.

92. The Plaintiff is requesting sanctions in the excess of $250,000 against ACAR Leasing for

spoliation of evidence.

                           EIGHT CAUSE OF ACTION
   FAIR CREDIT REPORTING ACT VIOLATIONS(“FCRA”) AGAINST ACAR LEASING 15
                        U.S.C. § 1681, ET SEQ. (“FCRA”)

  93. The Plaintiff incorporates by reference each and every paragraph of this complaint as if

full set forth herein.

  94. The Plaintiff is a “person”, “individual”, and “consumer” as defined by the FCRA.




                                                 19
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 23 of 85



 95. ACAR Leasing is a “person” and a “furnisher of credit information as defined by the

FCRA.

 96. This matter is brought in this Court along with Plaintiff’s other claims pursuant to 15

U.S.C. § 1681p.

 97. Defendant ACAR Leasing reported this account in good standing “On Time” until October

2017. [Exhibit G]

 98. The Defendant ACAR Leasing repossessed Plaintiff’s 2015 Impala knowing said vehicle

had been in dispute, defective and caused injury to Plaintiff. Defendant started reporting 2015

Impala repossession on or after December 2017.

 99. Plaintiff has asked ACAR Leasing directly and through their attorney to stop reporting

subject tradeline for 2015 Impala as a repossession and update the account as in dispute.

ACAR Leasing “repossession” reporting does not tell an accurate picture of what transpired with

the consumer debt. ACAR Leasing has refused to update the 2015 Impala tradeline as in

dispute.

100. ACAR Leasing continues to harm Plaintiff by publishing inaccurate information regarding

creditworthiness.

101. The Defendant ACAR Leasing conduct of not investigating and correcting the improper,

inaccurate negative derogatory credit information that it is reporting about the Plaintiff’s account

is negligent or willful and it failed to follow reasonable procedures to ensure the maximum

possible accuracy of information of in a consumer report.

102. Defendant ACAR Leasing refusal to update and continued inaccurate reporting of the

2015 Impala tradeline has caused the Plaintiff additional financial, emotional, and mental

injuries and economic losses to Plaintiff and is in violation of the FCRA.



                           NINTH CAUSE OF ACTION
           CREDITOR COLLECTION PRACTICES ACT AGAINST ACAR LEASING


                                                 20
        Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 24 of 85



103. The Plaintiff incorporates by reference each and every paragraph of this complaint as if

full set forth herein.

104. ACAR Leasing violated the Credit Collection Practices Act, Conn. Gen. Stat. § 36a-645 et

seq. (“CCPA”), by failing to conduct an investigation into Plaintiff’s dispute regarding the claimed

debt. At all times Defendant ACAR Leasing engaged in collection and repossession activates

described herein.

105. At all times relevant hereto Defendant ACAR Leasing was attempting to collect an alleged

debt which was incurred for personal, family or household purposes and is a “debt” as defined

by 15 U.S.C. § 1692a(5).

106. ACAR Leasing engaged in unlawful practices by continuing to harass Plaintiff by

attempting to collect debt which plaintiff has disputed. Plaintiff has asked ACAR Leasing to stop

sending communications to her regarding a debt that she does not believe she owes and has

disputed. ACAR Leasing continues to send monthly correspondences attempting to collect debt

and sending correspondences requesting settlement of debt which Plaintiff has disputed or is

involved in a dispute. [Exhibit H]

107. ACAR Leasing continued harassment by unfairly and unconscionably collecting or

attempting to collect the debt by its action described above is in violation of CCPA. Plaintiff is

requesting all damages resulting in her economical and emotional damages.

                                      PRAYER FOR RELIEF


WHEREFORE, Plaintiff pray that the Court enter judgement against General Motor, ACAR

Leasing, Richard Chevrolet, and H & L Chevrolet:

        1. Fair, just and reasonable money damages;

        2. Punitive damages;

        3. Lost of Use of the vehicle

        4. Expenses and costs of this action;


                                                 21
DocuSign Envelope ID: 9686DF59-1EE8-43A9-AA26-829BF5CE42F0
                     Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 25 of 85



                     5. Double and triple damages as allowed by law; and

                     6. Any other relief and equity as deem appropriate.

            DEMAND FOR JURY TRIAL
                                                             THE PLAINTIFF

                                                             By: _______________________

                                                             Debbi Cotterell, Pro Se Plaintiff
                                                             17 Renwick Street, Unit C
                                                             Stamford, CT 06902
                                                             Phone: (203) 943-9953
                                                             Email: debbisimms@gmail.com




                                                               22
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 26 of 85




                EXHIBIT A
        Case
         Case3:20-cv-01009-MPS
              3:19-cv-00822-MPS Document
                                 Document1-1
                                          51 Filed
                                             Filed 07/17/20
                                                   12/18/19 Page
                                                            Page 27
                                                                 1 ofof27
                                                                        85




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

    DEBBI COTTERELL,

          Plaintiff,                                               No. 3:19-cv-822 (MPS)

          v.

    GENERAL MOTORS LLC; GENERAL MOTORS
    FINANCIAL COMPANY, INC. d/b/a GM FINANCIAL
    LEASING; RICHARD CHEVROLET, INC.; and H & L                    December 18, 2019
    CHEVROLET, INC.,

          Defendants.


                             RULING ON MOTIONS TO DISMISS

       Pro se plaintiff Debbi Cotterell brought this action on May 29, 2019 against General

Motors LLC (“GM”); ACAR Leasing Ltd. d/b/a GM Financial Leasing1 (“GM Financial”);

Richard Chevrolet, Inc. (“Richard Chevrolet”); and H & L Chevrolet, Inc. (“H & L”) (together,

“Defendants”). ECF No. 1. She filed an amended complaint against these four Defendants on

July 19, 2019, alleging that they leased her a defective vehicle, which caused a power steering

failure in September 2016 that injured her shoulder, and that they failed to repair the problem,

refused to provide a different vehicle for the remainder of her lease, unfairly repossessed the

vehicle when she stopped making lease payments, and then misleadingly reported the

repossession to credit reporting agencies. Am. Compl., ECF No. 29. Her Amended Complaint

alleges product liability, negligence, fraud, breach of express warranty, breach of implied

warranty of merchantability, lender liability, and violations of state and federal statutes.



1
  Ms. Cotterell incorrectly named “General Motors Financial Company, Inc. d/b/a GM Financial
Leasing” as a defendant in her action. ECF Nos. 1, 29. GM Financial has stated in its filings that
the entity’s proper name is ACAR Leasing Ltd. d/b/a GM Financial Leasing. ECF No. 32 at 1
n.1.
                                                  1
         Case
         Case 3:20-cv-01009-MPS
              3:19-cv-00822-MPS Document
                                Document 1-1 Filed 12/18/19
                                         51 Filed  07/17/20 Page
                                                            Page 26
                                                                 28 of
                                                                    of 27
                                                                       85




plead diversity jurisdiction, she may bring a CCPA claim by itself against GM Financial in this

court.

IV.      CONCLUSION

         For the reasons stated above, the Defendants’ motions to dismiss, ECF Nos. 31, 34, 35,

39, are GRANTED. Ms. Cotterell’s FDCPA claim is dismissed with prejudice, and her FCRA,

MMWA, and state law claims are DISMISSED without prejudice.

         When evaluating pro se complaints, “the court should not dismiss without granting leave

to amend at least once when a liberal reading of the complaint gives any indication that a valid

claim might be stated.” Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000). However, if

repleading a claim would be futile, the court should not grant leave to amend. Id.; Hunt v.

Alliance N. Am. Gov’t Income Trust, 159 F.3d 723, 728 (2d Cir. 1998). Here, Ms. Cotterell

already had the opportunity to amend her complaint following the Defendants’ original motions

to dismiss, see Order, ECF No. 26 (allowing plaintiff to “file an amended complaint that

addresses the defects identified in the Defendants’ motions to dismiss”), although those original

motions to dismiss focused solely on the lack of diversity jurisdiction, and not on the more

substantive defects in Ms. Cotterell’s federal statutory claims. ECF Nos. 15, 17, 20, 24.

Nonetheless, I find that repleading her FDCPA claim and repleading her MMWA claim in

federal court would be futile, since even a “liberal reading of the complaint” does not suggest

that GM Financial is a “debt collector” under the FDCPA (and Ms. Cotterell does not

meaningfully oppose dismissal of her FDCPA claim), or that Ms. Cotterell could meet the

$50,000 jurisdictional minimum under the MMWA, even with better pleading. See Cuoco, 222

F.3d at 112 (denying leave to replead when “[t]he problem with [plaintiff’s] causes of action is

substantive [and] better pleading will not cure it”).



                                                 26
       Case
       Case 3:20-cv-01009-MPS
            3:19-cv-00822-MPS Document
                              Document 1-1 Filed 12/18/19
                                       51 Filed  07/17/20 Page
                                                          Page 27
                                                               29 of
                                                                  of 27
                                                                     85




       While I do not grant leave to replead the FDCPA claim or the MMWA claim in this

court, I do grant Ms. Cotterell leave to amend her FCRA claim against GM Financial. If she

wishes to file such an amended complaint in this Court, she must do so within thirty days. The

amended complaint must be limited to her FCRA claim against GM Financial (plus any CCPA

claim against GM Financial, as discussed above). She is also free to bring her FCRA claim, her

MMWA claim, and her state law claims in state court.

       IT IS SO ORDERED.


                                                          /s/
                                                    Michael P. Shea, U.S.D.J.

Dated: Hartford, Connecticut
       December 18, 2019




                                               27
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 30 of 85




                EXHIBIT B
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 31 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 32 of 85




                EXHIBIT C
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 33 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 34 of 85
6/16/2020            Case 3:20-cv-01009-MPS    Document
                                          28 Complaints:      1-1 Filed
                                                         2015 Chevrolet Impala07/17/20       Page 35 of 85
                                                                               Steering Problems




  NHTSA — Steering Problems
  2015 CHEVROLET IMPALA (PAGE 1 OF 2)


  Crashes / Fires:                                           About These NHTSA Complaints:
        1/1                                                     This data is from the NHTSA — the US gov't agency tasked
                                                                with vehicle safety. Complaints are spread across multiple &
                                                                redundant categories, & are not organized by problem.
  Injuries / Deaths:
        1/0                                                     So how do you find out what problems are occurring? For this
                                                                NHTSA complaint data, the only way is to read through the
                                                                comments below. Any duplicates or errors? It's not us.
  Average Mileage:
        52,147 miles

    2015 CHEVROLET IMPALA OWNER COMMENTS                                                                   (PAGE 1 OF 2)

  #
      28              Impala
                      5 miles
                                                                                                                     F
                                                                                                                     2020
                                                                                                                          01

  Going down the road I had a steering with care light pop up. And I had trouble controlling the vehicle. After
  turning the vehicle off for a couple minutes there is not problem. Currently I am terrified of driving the vehicle
  in the sense of loosing control or even my life.
       - Brandon, FL, USA


  #
      27              Impala
                      82,000 miles
                                                                                                                     F
                                                                                                                     2020
                                                                                                                          23

  While driving down interstate steering assist disabled alarm came on. Vehicle basically impossible to steer !!
  took extreme amount of effort to turn wheel at all. Way beyond what a normal non electric steering car would
  take with power steering out. Very dangerous at highway speeds. Managed to get car off road without killing
  myself or anyone else. Towed to dealership. Steering gone. $3100 to replace. Ridiculous for a 4 year old car.
       - Williamsburg, VA, USA


  #
      26              Impala
                      56,800 miles
                                                                                                                     F
                                                                                                                     2020
                                                                                                                          03

  Power steering failed while driving. The rack has to be replaced. It's a $3,000 repair on a 5 year old car with
  less than 60,000 miles
       - Coram, NY, USA


  Impala
https://www.carcomplaints.com/Chevrolet/Impala/2015/steering/steering.shtml                                                    1/4
6/16/2020            Case 3:20-cv-01009-MPS    Document
                                          28 Complaints:      1-1 Filed
                                                         2015 Chevrolet Impala07/17/20       Page 36 of 85
                                                                               Steering Problems

  #
      25              69,000 miles                                                                           J
                                                                                                             2020
                                                                                                                 22

  Loss of power steering assist and a "service power steering" message. Loss started upon start-up in morning
  and continued thru 25 mile commute to work. Eight hours later condition was gone and all systems normal
  from start-up to return commute home. During loss of assist car was extremely difficult to steer.
       - Medina, OH, USA


  #
      24              Impala
                      105,000 miles
                                                                                                             N
                                                                                                             2019
                                                                                                                  20

  Leaving home going to the fuel station to get gas for my car. I pulled out of the gas station and starting driving
  down the road about 1 min in to drive my service light came on stating to service my power steering, I could not
  handle the car, the steering was stiff to turn, I had to pull over shut down the car waited a few minutes started
  the car back up and the power steering returned to normal. Sense then, I have had a few more occurrences with
  the power steering.
       - Mcdonough, GA, USA


  #
      23              Impala
                      110,000 miles
                                                                                                             N
                                                                                                             2019
                                                                                                                  22

  I was driving down the road back in February a week after I bought the car with 90,000 miles on it one owner
  the steering wheel locked in position and on the dash it said 'service power steering drive with care� I really
  didnt know what happened and and told my son I should get it checked out before I give it to him but he
  wanted it now and it never happened again until 11/22/19 when he came out of walmart after cranking it and
  killing it and minutes later it resumed to normal. Now I got to do something
       - Selmer, TN, USA

  #
      22              Impala
                      72,180 miles
                                                                                                             N
                                                                                                             2019
                                                                                                                  01

  When I started my car this morning, I got an message on the instrument panel that said service power steering
  drive with care. When I put the car in reverse, I could barely turn the steering wheel. I looked up the service
  message and saw that this car does not use power steering fluid, but rather an electrical system for controlling
  the steering. At that point I had to leave it at home so it can be taken to the mechanic. This happened with
  72,180 miles on the vehicle.
       - Pell City, AL, USA


  #
      21              Impala
                      60,000 miles
                                                                                                             O
                                                                                                             2019
                                                                                                                  19

  Eb I84 leaving baker city or, 70mph, coming up on a series of "slow speed" S curves and the electric power
  steering shut down. Message on dic says "service power steering drive with care" wheel would hold whatever
  position it was put in and would not return to center without significant force. Nearly put the call into the
  concrete barrier. Just barely kept it on the road. Steering would not maintain center. Kept trying to rest just left
  or right of center forcing us to 'weave' back and forth as we limped the car home.
       - Nampa, ID, USA


  #
      20              Impala
                      71,315 miles
                                                                                                             J
                                                                                                             2019
                                                                                                                  17

  I was pulling out of the gas station on to a busy highway when the steering wheel became very difficult to move
  and a message came up on my dash saying "warning: Power steering system failure drive with caution. I was
  able to get the car to a parking lot and power cycle with no effect. After letting the car sit for 15 minutes I
  restarted it and the power steering was working normally. This is the second time it has failed.
       - Redmond, OR, USA


  Impala
https://www.carcomplaints.com/Chevrolet/Impala/2015/steering/steering.shtml                                            2/4
6/16/2020            Case 3:20-cv-01009-MPS    Document
                                          28 Complaints:      1-1 Filed
                                                         2015 Chevrolet Impala07/17/20       Page 37 of 85
                                                                               Steering Problems

  #
      19              37,000 miles                                                                           M
                                                                                                             2019
                                                                                                                  20

  While driving home from work power steering lost power on bridge & could barely turn wheel had the vehicle
  towed to dealer when I was informed it was also leaking gas fumes
       - Elkins Park, PA, USA


  #
      18              Impala
                      69,717 miles
                                                                                                             M
                                                                                                             2019
                                                                                                                  13

  While I was driving, power steering was lost. It was extremely difficult to turn the steering wheel. I could have
  easily crashed. The dash display showed a message, confirming the problem. My obd scan tool showed the two
  following dtc codes listed under power steering: C00800-12 and C056D-3B.
       - Clinton, NY, USA


  #
      17              Impala
                      60,020 miles
                                                                                                             A
                                                                                                             2019
                                                                                                                  26

  Sensors on the back bumper went bad due to moisture getting in, screwed up electrical system which is the
  brains of the vehicle. Chevy needs to recall this car, tons of owners are having this exact problem. My vehicle is
  currently in the repair shop and the sensors are not available due to the overwhelming number of customers
  that are having to purchase them. The repair shop cannot even be given an expectant date that the sensors and
  wiring heirness will be available. Recall theses cars Chevy, they know this is a manufacture defect, this is a
  $1500 fix that the customer is left to pay. When they know tons of customers with this vehicle are having the
  very exact some issues. My vehicle was in motion when I experienced the issues.
       - Saginaw, MI, USA

  #
      16              Impala
                      62,000 miles
                                                                                                             F
                                                                                                             2019
                                                                                                                  18

  When you start to car the power steering is out and it locks up then you drive and it's like driving a manual
  steering car
       - Dayton, OH, USA


  #
      15              Impala
                      17,052 miles
                                                                                                             M
                                                                                                             2019
                                                                                                                  09

  The contact owns a 2015 Chevrolet Impala. The contact stated that the power steering was faulty. While driving
  out of a parking lot, the steering wheel seized and "power steering assist" was displayed on the instrument
  panel. The vehicle was towed to richard lucas Chevrolet (1077 us-1, avenel, NJ 07001, (732) 634-0100) where it
  was diagnosed that a new rack and steering gear needed to be installed. The vehicle was not repaired. The
  manufacturer was made aware of the failure and did not assist. The failure mileage was 17,052.
       - Rahway, NJ, USA


  #
      14              Impala
                      60,700 miles
                                                                                                             J
                                                                                                             2019
                                                                                                                  08

  My car is 2015 Impala ltz and I am the first owner. On the morning of Jan 08,2019, at 8:00am, I left my house
  and drove route 77 North bound to fairlawn. It is still rush hour and many cars were on the road. At the
  distance about 10 miles away from my house in high way of 77, my steering suddenly became very stiff and it
  seems it was locked. I was at the fast lane at that moment and my car was about 70 miles/hr. There is a curves
  ahead of me and it is so hard for me to turn the steering wheel to follow the curves. So I have to turn on the
  emergency light on, slow down my car and tried to steer the car to the emergency shoulder. It was so dangerous
  because I can not control the car direction well and slow down the car speed very fast without bumping into
  other cars. It is in motion condition in highway route 77 losing the control for steering wheel. My car was towed
  to GM dealer at approx. 10 am on Jan 08. Till now it is afternoon of Jan 09, GM dealer still can not find out the
  problem and get it fixed. The quality issue may cause very dangerous situation for other drivers as well. I think
  it is very essential for me to bring out this quality issue for 2015 Impala ltz.
       - North Canton, OH, USA

https://www.carcomplaints.com/Chevrolet/Impala/2015/steering/steering.shtml                                            3/4
6/16/2020            Case 3:20-cv-01009-MPS    Document
                                          28 Complaints:      1-1 Filed
                                                         2015 Chevrolet Impala07/17/20       Page 38 of 85
                                                                               Steering Problems

  #
      13              Impala 8-cyl
                      82,000 miles
                                                                                                                  N
                                                                                                                  2018
                                                                                                                        27

  The contact owns a 2015 Chevrolet Impala. While driving 55 mph, the power steering indicator illuminated and
  the steering seized. The vehicle was taken to boyd Chevrolet Cadillac Buick (1875 spartansburg hwy,
  hendersonville, nc 28792, 828-693-3461), but was not diagnosed or repaired. The manufacturer was not
  notified of the failure. The failure mileage was approximately 82,000.
       - Henderson, NC, USA


  #
      12              Impala
                      83,000 miles
                                                                                                                  O
                                                                                                                  2018
                                                                                                                        03

  The contact owns a 2015 Chevrolet Impala. The contact stated that the power steering "drive with care"
  warning indicator illuminated and the steering wheel seized. There were recalls for the 2012 and 2014 model
  vehicles, but not for the 2015 Impala. The dealer was not notified. The manufacturer was notified of the failure.
  The vehicle was not diagnosed or repaired. The approximate failure mileage was 83,000.
       - Drexel Hill, PA, USA


  #
      11              Impala
                      84,300 miles
                                                                                                                  S
                                                                                                                  2018
                                                                                                                       19

  While driving a complete loss of power steering making the car extremely difficult / dangerous to steer. The
  entire electric power steering system needed to be replaced along with the side detection modules. A
  frightening experience.
       - Livonia, MI, USA

  #
      10              Impala
                      73,000 miles
                                                                                                                  A
                                                                                                                  2018
                                                                                                                        28

  The contact owns a 2015 Chevrolet Impala. While driving 35 mph, the power steering failed and the steering
  wheel seized. The contact stated that the power steering warning indicator illuminated. The vehicle was towed
  to bowman Chevrolet (6750 dixie hwy, village of clarkston, mi 48346) where they stated that the vehicle was
  not included in NHTSA campaign number: 14V450000(steering). The dealer also stated that the steering gear
  assembly needed to be replaced. The manufacturer was contacted. The vehicle was not repaired. The failure
  mileage was 73,000.
       - Davisburg, MI, USA


  #
      9               Impala
                      55,000 miles
                                                                                                                  J
                                                                                                                  2018
                                                                                                                        17

  Electric power steering failed whil driving making this 21/2 tom car impossible to steer
       - Capitol Heights, MD, USA



  About CarComplaints.com ®

  CarComplaints.com ® is an online automotive complaint resource that uses graphs to show automotive defect patterns,
  based on complaint data submitted by visitors to the site. The complaints are organized into groups with data published by
  vehicle, vehicle component, and specific problem.

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https://www.carcomplaints.com/Chevrolet/Impala/2015/steering/steering.shtml                                                  4/4
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 39 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 40 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 41 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 42 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 43 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 44 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 45 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 46 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 47 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 48 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 49 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 50 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 51 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 52 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 53 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 54 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 55 of 85




               EXHIBIT D
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 56 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 57 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 58 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 59 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 60 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 61 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 62 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 63 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 64 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 65 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 66 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 67 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 68 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 69 of 85




                EXHIBIT F
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 70 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 71 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 72 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 73 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 74 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 75 of 85




               EXHIBIT G
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 76 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 77 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 78 of 85




               EXHIBIT H
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 79 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 80 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 81 of 85
Case 3:20-cv-01009-MPS Document 1-1 Filed 07/17/20 Page 82 of 85
7/16/2020            Case 3:20-cv-01009-MPS               Document 1-1 Filed 07/17/20 Page 83 of 85
                                  civilinquiry.jud.ct.gov/CaseDetail/Notices/ViewJDNO.aspx?PSID=55341&eNID=5741258



                                                               JDNO NOTICE

  FST-CV-XX-XXXXXXX-S           COTTERELL, DEBBI v. GENERAL MOTORS LLC Et Al

  Notice Issued: 06/18/2020

  Court Address:
  CLERK, SUPERIOR COURT
  JUDICIAL DISTRICT OF STAMFORD-NORWALK
  123 HOYT STREET
  STAMFORD, CT 06905

  Notice Content:
  Notice Issued: 06/18/2020
  Docket Number: FST-CV-XX-XXXXXXX-S
  Case Caption: COTTERELL, DEBBI v. GENERAL MOTORS LLC Et Al
  Notice Sequence #: 1

            JDNO NOTICE

  07/27/2020 AT 8:30AM


  The above-captioned case has been individually assigned to the Honorable Robert Genuario.

  The prefix “FS1” has been assigned to this case for assignment purposes and will appear on all short calendars.

  This notice is for informational purposes only. No court appearance is required.

  Please direct all questions regarding this individual calendar assignment to Catherine Cannizzaro Civil Caseflow matters
  at 203-965-5332 or email: Catherine.cannizzaro@jud.ct.gov.

  All questions regarding the Short Calendar, Specia Proceedings and Hearing in Damages should be directed to the civil
  clerk's office at 203-965-5308.


  ***Please be advised this notice is to advise you of individual calendar judge assignment only. The date indicated above is
  not a date to report to court unless the case has been assigned otherwise.




civilinquiry.jud.ct.gov/CaseDetail/Notices/ViewJDNO.aspx?PSID=55341&eNID=5741258                                             1/1
                            Clicking on the question marks ( Document
                            Case 3:20-cv-01009-MPS           ) will give you1-1
                                                                             information about that section
                                                                                  Filed 07/17/20      Pageof84
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                                                                                                                    85
APPEARANCE                                                                   STATE OF CONNECTICUT
JD-CL-12 Rev. 1-12                                                                                                                            Instructions — See Back/Page 2
P.B. §§ 3-1 thru 3-6, 3-8, 10-13, 25A-2                                         SUPERIOR COURT
                                                                                       www.jud.ct.gov
Notice To Self-Represented Parties
A self-represented party is a person who represents himself or herself. If you are a self-
represented party and you filed an appearance before and you have since changed your address,
you must let the court and all attorneys and self-represented parties of record know that you have                                             Return date
changed your address by checking the box below:                                                                                                Jul-21-2020
  I am filing this appearance to let the court and all attorneys and self-represented                                                          Docket number

  parties of record know that I have changed my address. My new address is below.                                                              FST-CV-XX-XXXXXXX-S
Name of case (Full name of Plaintiff vs. Full name of Defendant)
COTTERELL, DEBBI v. GENERAL MOTORS LLC Et Al
     ✖                                                     Address of Court (Number, street, town and zip code)
Judicial Housing    Small      Geographic
District Session Claims Area number
                                                    123            HOYT STREET STAMFORD, CT 06905
Scheduled Court date (Criminal/Motor Vehicle Matters)



Please Enter the Appearance of
Name of self-represented party (See "Notice to Self-Represented Parties" at top), or name of official, firm, professional corporation, or individual Juris number of attorney or firm
attorney
                                                                                                                                                             429165
MICHAEL THOMAS GRANT
Mailing Address (Number, street) (Notice to attorneys and law firms - The address to which papers will be mailed from the   Post office box           Telephone number (Area code first)
court is the one registered or affiliated with your juris number. That address cannot be changed in this form.)

100 HIGH STREET SUITE 2400                                                                                                                            857-488-4218
City/town                                         State       Zip code                  Fax number (Area code first)        E-mail address
BOSTON                                             MA          02110                                                        mtgrant@duanemorris.com
in the case named above for: ("x" one of the following parties; if this is a Family Matters case, also indicate the scope of your appearance)
         The Plaintiff (includes the person suing another person).
         All Plaintiffs.
         The following Plaintiff(s) only:
         The Defendant (includes the person being sued or charged with a crime).
         The Defendant for the purpose of the bail hearing only (in criminal and motor vehicle cases only).
         All Defendants.
     ✖   The following Defendant(s) only: Pty# D-02 ACAR LEASING LTD, D/B/A GM FINANCIAL LEA
         Other (Specify):
         This is a Family Matters case and my appearance is for: ("x" one or both)
                matters in the Family Division of the Superior Court        Title IV-D Child Support matters
Note: If other counsel or a self-represented party has already filed an appearance for the party or parties "x'd" above, put
      an "x" in box 1 or 2 below:
1.     This appearance is in place of the appearance of the following attorney,
       firm or self-represented party on file (P.B. Sec. 3-8):
                                                                                                                                   (Name and Juris Number)
2.        This appearance is in addition to an appearance already on file.
I agree to accept papers (service) electronically in this case under Practice Book Section 10-13                                                                   ✖   Yes            No
Signed (Individual attorney or self-represented party)                                 Name of person signing at left (Print or type)                             Date signed
u 429165                                                                                MICHAEL THOMAS GRANT                                                      Jul 10 2020
Certification
I certify that a copy of this document was mailed or delivered electronically or non-electronically on (date) Jul 10 2020       to all attorneys
and self-represented parties of record and that written consent for electronic delivery was received from all attorneys and self-represented
parties receiving electronic delivery.
Name and address of each party and attorney that copy was mailed or delivered to*                                                                              For Court Use Only
DEBBI COTTERELL (Self Represented) - UNIT C 17 RENWICK ST APT C STAMFORD, CT 06902




Signed (Signature of filer)                          Print or type name of person signing                 Date signed              Telephone number
u 429165                                              MICHAEL THOMAS GRANT                                 Jul 10 2020             857-488-4218
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APPEARANCE                                                                   STATE OF CONNECTICUT
JD-CL-12 Rev. 1-12                                                                                                                            Instructions — See Back/Page 2
P.B. §§ 3-1 thru 3-6, 3-8, 10-13, 25A-2                                         SUPERIOR COURT
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Notice To Self-Represented Parties
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represented party and you filed an appearance before and you have since changed your address,
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changed your address by checking the box below:                                                                                                Jul-21-2020
  I am filing this appearance to let the court and all attorneys and self-represented                                                          Docket number

  parties of record know that I have changed my address. My new address is below.                                                              FST-CV-XX-XXXXXXX-S
Name of case (Full name of Plaintiff vs. Full name of Defendant)
COTTERELL, DEBBI v. GENERAL MOTORS LLC Et Al
     ✖                                                     Address of Court (Number, street, town and zip code)
Judicial Housing    Small      Geographic
District Session Claims Area number
                                                    123            HOYT STREET STAMFORD, CT 06905
Scheduled Court date (Criminal/Motor Vehicle Matters)



Please Enter the Appearance of
Name of self-represented party (See "Notice to Self-Represented Parties" at top), or name of official, firm, professional corporation, or individual Juris number of attorney or firm
attorney
                                                                                                                                                             415008
TIMOTHY JOSEPH DUGGAN
Mailing Address (Number, street) (Notice to attorneys and law firms - The address to which papers will be mailed from the   Post office box           Telephone number (Area code first)
court is the one registered or affiliated with your juris number. That address cannot be changed in this form.)

89 ACCESS ROAD UNIT A                                                                                                                                 781-762-0077
City/town                                         State       Zip code                  Fax number (Area code first)        E-mail address
NORWOOD                                            MA          02062                     781-762-9299                       tjd@dcclawyers.com
in the case named above for: ("x" one of the following parties; if this is a Family Matters case, also indicate the scope of your appearance)
         The Plaintiff (includes the person suing another person).
         All Plaintiffs.
         The following Plaintiff(s) only:
         The Defendant (includes the person being sued or charged with a crime).
         The Defendant for the purpose of the bail hearing only (in criminal and motor vehicle cases only).
         All Defendants.
     ✖   The following Defendant(s) only: Pty# D-01 GENERAL MOTORS LLC
         Other (Specify):
         This is a Family Matters case and my appearance is for: ("x" one or both)
                matters in the Family Division of the Superior Court        Title IV-D Child Support matters
Note: If other counsel or a self-represented party has already filed an appearance for the party or parties "x'd" above, put
      an "x" in box 1 or 2 below:
1.     This appearance is in place of the appearance of the following attorney,
       firm or self-represented party on file (P.B. Sec. 3-8):
                                                                                                                                   (Name and Juris Number)
2.        This appearance is in addition to an appearance already on file.
I agree to accept papers (service) electronically in this case under Practice Book Section 10-13                                                                   ✖   Yes            No
Signed (Individual attorney or self-represented party)                                 Name of person signing at left (Print or type)                             Date signed
u 415008                                                                                TIMOTHY JOSEPH DUGGAN                                                     Jul 15 2020
Certification
I certify that a copy of this document was mailed or delivered electronically or non-electronically on (date) Jul 15 2020       to all attorneys
and self-represented parties of record and that written consent for electronic delivery was received from all attorneys and self-represented
parties receiving electronic delivery.
Name and address of each party and attorney that copy was mailed or delivered to*                                                                              For Court Use Only
MICHAEL GRANT - 100 HIGH STREET/SUITE 2400/BOSTON, MA 02110
DEBBI COTTERELL (Self Represented) - UNIT C 17 RENWICK ST APT C STAMFORD, CT 06902



Signed (Signature of filer)                          Print or type name of person signing                 Date signed              Telephone number
u 415008                                              TIMOTHY JOSEPH DUGGAN                                Jul 15 2020             781-762-0077
*If necessary, attach an additional sheet or sheets with the name of each party and the address which the copy was mailed or delivered to.
